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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                            Crim. Case No. 24-506-TJK

                v.

 BRYAN KINARD,

           Defendant.


             UNITED STATES’ MEMORANDUM IN AID OF SENTENCING

        As a Correctional Officer with the D.C. Department of Corrections (“DOC”), Bryan Kinard

was charged with enforcing the regulations governing the operations of the facility and ensuring a

safe environment for detainees and staff. Instead, Officer Kinard smuggled dangerous contraband

into the Central Detention Facility (“CDF”) on behalf of detainees who have since been convicted

of murder or assault with intent to kill. This contraband included controlled substances, as well as

cellular phones used to obstruct justice in an ongoing case before Judge Friedrich. To Officer

Kinard’s credit, he immediately took responsibility for his actions and was open and honest with

investigators. Crucially, the evidence suggests Officer Kinard did not know what—beyond food—

was in the packages he was smuggling into CDF on behalf of the detainees. Given that, and in

consideration of the factors set forth in 18 U.S.C. § 3553(a), the Court should sentence him to three

years of probation. Such a sentence would be sufficient but not greater than necessary to achieve

the purposes of sentencing.

   I.      Background

        From August 2023 through July 2024, Officer Kinard worked as a Correctional Officer in

CDF. For most of his tenure, he was assigned to a housing unit with various detainees from the

Clay Terrace neighborhood of Washington D.C., to include Darius Robertson, Marcel Vines, and

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Stephon Freshley (collectively, the “Clay Terrace Detainees”). Prior to Officer Kinard’s known

involvement with the Clay Terrace Detainees, Correctional Officer Rashaad Roper smuggled or

attempted to smuggle controlled substances, a switchblade knife, and a cellphone into CDF on

behalf of these detainees. See 24-CR-520, ECF No. 1. On February 28, 2024, DOC investigators

intercepted two Tupperware containers that were to be smuggled into CDF by Officer Roper for

the Clay Terrace Detainees. Officer Roper was placed on administrative leave, and all the

correctional officers in Officer Roper’s unit, to include Officer Kinard, were informed of the

interception of contraband.

       With Officer Roper out of the unit and on administrative leave, the Clay Terrace Detainees

sought to recruit a new officer to smuggle contraband into CDF. Four months later, they found

their man—Officer Kinard. On June 30, 2024, July 7, 2024, and July 21, 2024, Officer Kinard

obtained Tupperware containers filled with food from associates of the Clay Terrace Detainees

outside the jail and brought them to Stephon Freshley inside CDF. Concealed inside the food was

contraband. Each incident was captured on surveillance footage, and the July 21st incident was

captured on Officer Kinard’s body-worn camera. Officer Kinard can be seen on the July 21st video

with audio: (1) providing his license plate number to the Clay Terrace Detainees so that their

associate outside the jail could drop the contraband in Officer Kinard’s vehicle; (2) coordinating

with the Clay Terrace Detainees as to when they would like him to take his break and obtain the

contraband from his vehicle; and (3) providing the contraband to Stephon Freshley and describing

the “heavy” weight of the Tupperware container.

       Two days after the July 21st smuggling incident, two photographs were posted from Mr.

Freshley’s known Instagram account, “___steflover” despite the fact that he was detained at CDF.

The first photograph was a picture of Mr. Vines and his co-defendant in the courtroom during jury



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selection of their murder trial before Judge Friedrich that had begun days earlier. The second

photograph was a black screen overlayed with text, stating “It ain’t going to be safe telling on them

Boyz [emojis].”




        That post prompted significant new security measures at the courthouse. Additionally, it

prompted law enforcement to review surveillance footage from the jail and eventually to identify

Officer Kinard as the individual smuggling items in on behalf of Mr. Freshley, Mr. Vines, and Mr.

Robertson.

        On July 25, 2024, DOC conducted two searches of the Clay Terrace Detainee’s unit for

contraband. Inside NW-1, DOC staff found, among other things, approximately: (1) 269 blue pills

(including 120 from Vines’ cell), which tested positive for fentanyl; (2) 60 cigarettes soaked in an

unknown liquid (including 40 in Vines’ cell); (3) 255 suboxone strips (170 in Vines’ cell); (4) 7

pieces of paper soaked in an unknown liquid substance; (5) three cellular phones; and (6)

cigarettes.



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          The next day, on July 26, 2024, Officer Kinard was terminated by DOC. He admitted to

his conduct and relatively shortly thereafter, he agreed to plea guilty prior to an indictment. Officer

Kinard insisted that he believed the Tupperware containers only contained outside food for the

Clay Terrace Detainees—although he knew that providing the detainees with outside food was not

permitted. Unlike Officer Roper who fished the contraband out of the Tupperware to provide to

the Clay Terrace Detainees directly, Officer Kinard did not ever appear to look inside the

Tupperware.

   II.       Sentencing Guidelines

          The parties and the presentence investigation report writer agree that the following

guidelines apply.

   USSG §§ 2X1.1(a)/2P1.2(a)(3)                 Base Offense Level                             6
   USSG § 2P1.2(b)(1)                           Correctional Officer                           2
   USSG § 3E1.1                                 Acceptance of Responsibility                   -2
   USSG § 4C1.1                                 Zero-Point Offender Adjustment                 -2

PSR ¶ 30-40. The defendant is in Criminal History Category I. PSR ¶ 43. Based on a total offense

level of 4 and CHC I, the guidelines recommend a sentence of 0 to 6 months’ imprisonment and a

fine of $500 to $9,500. PSR ¶ 91, 110. Because the recommended imprisonment range falls within

Zone A of the Sentencing Table, the Guidelines provide that no term of incarceration is required.

See PSR ¶ 91, USSG §5C1.1(b). The Guidelines also note that a non-prison sentence is generally

appropriate for defendants who are in Zone A of the Sentencing Table if, like Officer Kinard, they

received a zero-point offender adjustment. USSG §5C1.1, comment. (n.10).

   III.      The 18 U.S.C. § 3553(a) Factors

          The Court must impose a sentence that is sufficient but not greater than necessary to reflect

the seriousness of the offense, to promote respect for the law, to provide just punishment, to afford


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adequate deterrence, to protect the public from further crimes of the defendant, and to provide the

defendant with needed educational or vocational treatment. 18 U.S.C. § 3553(a)(2). The Court also

must consider the history and characteristics of the defendant, the kinds of sentences available, the

sentencing range under the guidelines, any relevant policy statements, and the need to avoid

unwarranted sentencing disparities. 18 U.S.C. § 3553(a)(1)-(6).

       Although some of the section 3553(a) factors weigh in favor of a prison sentence, the

government believes that the factors as a whole support a probationary sentence.

             A. The Nature and Circumstances of the Offense and the Need for the Sentence
                to Reflect the Seriousness of the Offense

       Officer Kinard’s actions were undoubtedly serious. Bringing controlled substances into an

environment with a high population of individuals with substance-abuse problems can have

devastating effects. Additionally, while the phones that Officer Kinard smuggled into the jail may

appear relatively innocuous, in this case, they were anything but. The evidence in this case suggests

that Mr. Freshley used one of the contraband cellphones to intimidate witnesses during his co-

defendant’s—Mr. Vines’—murder trial before Judge Friedrich in 19-CR-166 (DLF). This and

other threats to witnesses made throughout the case led to a significant increase in security at the

courthouse and substantial work on the part of law enforcement to ensure the safety of the

witnesses.

       It is also true, however, that the government lacks evidence that Officer Kinard knew what

was inside the Tupperware containers he provided the Clay Terrace Detainees, which stands in

stark contrast to the evidence against Officer Roper, who was captured on video fishing out specific

items of contraband from the smuggled in food. Moreover, upon being confronted by law

enforcement, Officer Kinard admitted to his criminal conduct. He was open and honest throughout




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the pendency of this case. And he accepted responsibility in relatively short order. Taken together,

the government believes this factor weighs in favor of a probationary sentence.

           B. The Need to Promote Respect for the Law and to Deter the Defendant and
              Others from This Type of Criminal Conduct

       Officer Kinard is one of at least three DOC employees in the last seven months to be

charged in connection with smuggling contraband into a DOC facility. DOC investigators have

informed the government that this has put the facility and its staff on high alert. DOC is an insulated

environment where the Court’s sentence will have a general deterrent effect. While the government

is not seeking incarceration in this case, a significant term of probation is warranted.

           C. The History and Circumstances of the Defendant

       Officer Kinard did not enjoy an easy upbringing. See generally PSR ¶ 49-55. Yet he

overcame many of the obstacles noted in the PSR. At 46-years-old, he has no prior criminal history

and an employment history that went nearly uninterrupted until the instant offense. PSR ¶ 77-81.

The PSR describes him as an engaged father, including of a child with disabilities. PSR ¶ 57-60.

He has no prior issues with substance abuse, PSR ¶ 72-74, and described to the PSR reporter an

interest in bettering himself. PSR ¶ 70. On balance, all of this information on Officer Kinard—his




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lack of criminal record, his status as a zero-point offender, and the positive contributions he has

made to the community through past employment—weighs in favor of a probationary sentence.

                                        CONCLUSION

       The Court should sentence Officer Kinard to three years of probation.




                                      Respectfully submitted,

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                                      UNITED STATES ATTORNEY
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